                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                  WESTERN DIVISION


 JOSHUA HARMS,
                                                          Case No. 5:18-cv-4023
                 Plaintiff,

         v.

 CITY OF SIBLEY, IOWA, GLENN
 ANDERSON, Sibley City Administrator,                         PLAINTIFF’S MOTION FOR
 in his individual and official capacity, and              A PRELIMINARY INJUNCTION
 SUSAN SEMBACH, Sibley City Clerk, in
 her individual and official capacity,

                 Defendants.


              PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

        COMES NOW Plaintiff, by and through his attorneys, and respectfully moves this Court

for a Preliminary Injunction, pursuant to Federal Rule of Civil Procedure 65(a), based on

Plaintiffs’ Brief in Support of Its Motion for a Preliminary Injunction, attached Exhibits A

through E, and the Verified Complaint contemporaneously filed with this Court.

        Plaintiff seeks a preliminary injunction prohibiting the Defendants from further prior

restraint of or retaliation for his lawful speech related to his prior or future criticism of the town

of Sibley, Iowa or its municipal government.

March 8, 2018.

                                                        Respectfully submitted,

                                                        /s/ Rita Bettis
                                                        Rita Bettis, AT0011558
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